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                         SOUTH HIGH SCHOOL
                      1213 W. Allison Rd., Cheyenne, WY 82007
                        (307) 771-2410 (307) 771-2420 (fax)

                                                            Name: __Gracie Meza________________
                                                 Date:_____9/28/18______________________________


                                         Transition Plan:

1. Morning Check-in: May show up for ELO as needed, begin classes on 2nd hour A/B days
2. Restroom/Hall Passes: No support needed
3. Passing periods: No support needed, will reassess the need for modifications as necessary, South
    High Admin will keep “line of sight” during transition times.
4. Lunch: Off-campus preference, 10 minute wait time to avoid a crowd, park in the teacher lot
5. Dismissal/Pickup: Teacher parking lot, leave through the C-pod exit
6. Extra-curricular attendance: Will attend with friend, current seating preference is away from
    student section
7. Absences: Policy-waived, Gracie will call herself in to the office
8. Adjustments to coursework: Drop Ceramics and Zoology, All other courses remain the same.
9. Academic Interventions: Mr. Thompson will speak with Mr. Hume, Mr. Thompson will coordinate
    the gathering of all missing work.
10. In-school point of contact: Mrs. Ragle (SAC), Mr. Thompson’s office, Ms. MIchael
11. Guidance Counselor support: Mrs. Ragle
12. Emergency situations: contact Mr. Thompson, Cris Zimny, law enforcement (911), Gracie will
    determine others she’d like involved
13. SRO updates: Dr. Kinney will visit with SRO regarding citizens of concern
14. Follow up: Gracie can initiate it at any time, re-assess week of October 1
15. Phone Contacts: Dr. Tracey Kinney: 307-221-3102, Steve Newton: 307-631-4133, Mr. Phil
    Thompson: 307-203-9170, Cris Zimny: 307-399-2720, Vince Garcia: 307-214-0235, Gracie: 307-
    256-8431; Becky Garcia: 307-421-3655




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Phil Thompson           Royce Backman                Jen Brownhill             Louis Sisemore
   Principal           Associate Principal         Assistant Principal        Assistant Principal


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